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I hereby attest and certify on _________
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that the foregoing document is full, true                                                           CLERK, U.S. DISTRICT COURT
and correct copy of the original on file in
my office, and in my legal custody.

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                     IN RE: FORD MOTOR CO. DPS6 POWERSHIFT
                     TRANSMISSION PRODUCTS LIABILITY
                     LITIGATION                                                                              MDL No. 2814



                                                       (SEE ATTACHED SCHEDULE)



                                              CONDITIONAL TRANSFER ORDER (CTO í1)


                     On February 2, 2018, the Panel transferred 75 civil action(s) to the United States District Court for
                     the Central District of California for coordinated or consolidated pretrial proceedings pursuant to 28
                     U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2018). Since that time, no additional action(s) have been
                     transferred to the Central District of California. With the consent of that court, all such actions have
                     been assigned to the Honorable Andre Birotte, Jr.

                     It appears that the action(s) on this conditional transfer order involve questions of fact that are
                     common to the actions previously transferred to the Central District of California and assigned to
                     Judge Birotte.

                     Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
                     Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
                     Central District of California for the reasons stated in the order of February 2, 2018, and, with the
                     consent of that court, assigned to the Honorable Andre Birotte, Jr.

                     This order does not become effective until it is filed in the Office of the Clerk of the United States
                     District Court for the Central District of California. The transmittal of this order to said Clerk shall
                     be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
                     Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                                            FOR THE PANEL:
                          Feb 13, 2018


                                                                            Jeffery N. Lüthi
                                                                            Clerk of the Panel
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  IN RE: FORD MOTOR CO. DPS6 POWERSHIFT
  TRANSMISSION PRODUCTS LIABILITY
  LITIGATION                                                                      MDL No. 2814



                      SCHEDULE CTOí1 í TAGíALONG ACTIONS



    DIST      DIV.      C.A.NO.        CASE CAPTION


  CALIFORNIA EASTERN

    CAE         1       18í00043       Kirksey v. Ford Motor Company
    CAE         2       17í02306       Gill v. Ford Motor Company
    CAE         2       17í02378       Leaea v. Ford Motor Company
    CAE         2       17í02380       Huntress v. Ford Motor Company et al
    CAE         2       17í02382       Perez et al v. Ford Motor Company
    CAE         2       17í02386       Gonzalez v. Ford Motor Company
    CAE         2       17í02388       Johnson et al v. Ford Motor Company
    CAE         2       17í02389       Meyer v. Ford Motor Company
    CAE         2       17í02586       Plasch et al v. Ford Motor Company et al
    CAE         2       17í02663       Turner v. Ford Motor Company
    CAE         2       17í02666       Bloat v. Ford Motor Company
    CAE         2       17í02716       Fick et al v. Ford Motor Company
    CAE         2       17í02717       Reynolds et al v. Ford Motor Company

  CALIFORNIA NORTHERN

    CAN         4       17í07127       Vincent et al v. Ford Motor Company
    CAN         5       17í06121       Feichmann et al v. Ford Motor Company
    CAN         5       17í06128       Kramer v. Ford Motor Company
    CAN         5       17í06201       Olazabal et al v. Ford Motor Company
    CAN         5       17í06205       Pelloth v. Ford Motor Company
    CAN         5       17í06210       Hillard et al v. Ford Motor Company
    CAN         5       17í06222       Gutierrez et al v. Ford Motor Company
    CAN         5       17í06513       Green et al v. Ford Motor Company
    CAN         5       17í06519       Connelli v. Ford Motor Company
    CAN         5       17í06521       Gimlett et al v. Ford Motor Company
    CAN         5       17í06526       Narayanan et al v. Ford Motor Company
    CAN         5       17í06528       Kerr v. Ford Motor Company
    CAN         5       17í06539       Satter v. Ford Motor Company et al
    CAN         5       17í06541       Woodall v. Ford Motor Company
    CAN         5       17í06542       Volcy v. Ford Motor Company
    CAN         5       17í06544       Verrecchia v. Ford Motor Company
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    CAN         5       17í06788       Hadi v. Ford Motor Company

  CALIFORNIA SOUTHERN

    CAS         3       17í01412       Bustamante v. Ford Motor Company et al
    CAS         3       17í01722       Estudillo v. Ford Motor Company et al
    CAS         3       17í01762       Gutierrez v. Ford Motor Company et al
    CAS         3       17í01768       Rodriguez v. Ford Motor Company et al
    CAS         3       17í02184       Cheney et al v. Ford Motor Company et al
    CAS         3       17í02196       Ibarra v. Ford Motor Company et al
    CAS         3       17í02198       Hunter v. Ford Motor Company et al
    CAS         3       17í02284       Pantoja v. Ford Motor Company et al
    CAS         3       17í02290       Perez et al v. Ford Motor Company et al
    CAS         3       17í02291       Ramirez v. Ford Motor Company et al
    CAS         3       17í02329       Fornario et al v. Ford Motor Company et al
    CAS         3       17í02511       Addona v. Ford Motor Company et al
    CAS         3       18í00097       Tatum v. Ford Motor Company et al

  TEXAS EASTERN

    TXE         4       17í00579       Banks et al v. Ford Motor Company
